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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 24-CV-21104-RAR

        BENESSERE INVESTMENT GROUP,
        LLC, et al.,

                             Plaintiffs,

        vs.

        ERIC SWIDER, et al.,

                       Defendants.
        ______________________________/

                                           MEDIATOR’S REPORT

              PLEASE TAKE NOTICE that the above-referenced action was mediated before

        the undersigned on April 3, 2025, pursuant to the Court’s Order Scheduling

        Mediation dated July 24, 2024 (DE 32).

              The Court should take further notice of the following:

              (a) all parties and their counsel appeared in person with the exception of Eric

                 Swider, who appeared via Zoom with prior Court approval; and

              (b) after a good faith attempt to resolve the issues, the undersigned declared an

                 impasse.

                                                    Respectfully submitted,

                                                    s/ Howard A. Tescher
                                                    Howard A. Tescher
                                                    Fla. Bar No. 0509183
                                                    TESCHER MEDIATION GROUP, INC.
                                                    401 E. Las Olas Boulevard, Suite 1400
                                                    Fort Lauderdale, Florida 33301
                                                    (954) 236-9600 Telephone
                                                    e-mail: htescher@teschermediation.com



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                                 CERTIFICATE OF SERVICE


            I hereby certify that a true and correct copy of the Mediator’s Report has been

     electronically filed on April 3, 2025, using the CM/ECF system.



                                                  /s/ Howard A. Tescher
                                                  HOWARD A. TESCHER




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